      Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 1 of 9




                          UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
     Plaintiff,                                           1: 19-CR-00018 (ABJ)

V.

ROGER JASON STONE, JR.,
    Defendants.                                           FEBRUARY 20, 2020


     STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
                   LIMITED PERMISSION TO INTERVENE
       The proposed intervenor, Mr. Michael Cernovich, respectfully moves the Court for

limited permission to intervene in this matter for the purpose of obtaining a juror's voir dire

identification number and the written jury voir dire questionnaire answers that have been

collected in this case. Mr. Cernovich seeks to obtain the juror voir dire identification

number of                , who has publicly claimed that she was the jury foreperson in the

above-captioned matter and whose public conduct has raised grave constitutional

concerns regarding the fairness of the jury trial in the instant matter. In light of the grave

constitutional concerns that                  conduct has raised, Mr. Cernovich also seeks

to obtain the written jury voir dire questionnaire answers that have been collected in this

case. He does not seek the name of any other juror at this juncture.

        On February 12, 2020,                        identified herself as the jury foreperson

in the case in a Facebook post. CNN subsequently broke the story of the jury foreperson's

decision to identify herself. Mr. Cernovich's reporting was only possible because

voluntarily chose to disclose her identity as the jury forewoman, thus enabling CNN to

 obtain her identity. Had CNN not broken this story, the public would remain in the dark as
     Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 2 of 9




to how the jury selection process works in federal cases, as well as in Mr. Stone's case

particularly.

       While Mr. Cernovich takes no position on whether Mr. Stone's rights to an impartial

jury were violated, leading criminal defense attorneys and constitutional law scholars led

by law professor Jonathan Turley have argued that Mr. Stone was not tried by a fair and

impartial jury. See Exhibit A. In a manner consistent with the overall public attention in

the instant case and buttressed by the voices of America's leading legal minds, the public

has engaged in speculation about              misled the Court about her ability to be fair

and impartial.

        Mr. Cernovich, as a journalist and a concerned citizen, respectfully requests the

Court to allow him to exercise his right under the First Amendment to investigate          .

        conduct by obtaining            juror identification number during voir dire and her

written answers to the voir dire questionnaire that jurors were required to submit. See

Exhibit B.

        Finally, even though Mr. Stone has been sentenced, a motion to intervene is still

procedurally appropriate in the instant case because Mr. Stone may either take a direct

appeal from his conviction or file a motion for post-conviction relief under 28 U.S.C. §

2255 in the instant matter.

                                    STATEMENT OF FACTS

        On November 15, 2019, the jury in this matter found Mr. Stone guilty of seven

 charges that all relate to highly controversial actions tied to President Donald J. Trump's

 campaign for the United States presidency. Dkt. No. 260. On February 2, 2020, CNN

 published a story stating that            published a private Facebook post that it had
      Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 3 of 9




obtained identifying herself as a juror in Mr. Stone's case and stating that she supported

the prosecutors. See Exhibit C. Initially, only CNN, its source, and Facebook possessed

the post or any record of it because             deleted this post and many of her other

posts after she drew media scrutiny regarding whether she lied in her answers to the jury

questionnaire. Id. However, it did not take long for the public to obtain copies and preserve

it.

       The post itself is innocent. See Exhibit D. It expresses support for the four federal

prosecutors who tried Mr. Stone's case and commends them on a job well-done, which

is undoubtedly speech protected by the Fir.st Amendment. Id.

       However,              past social media posts were anything but innocent and raise

serious questions about whether she lied to the Court or, at best, was less than candid

about the extent of her social media activities. Research regarding             background

showed that she had run for Congress as a Democrat and that she had posted extensive

opinions on social media regarding events that bore directly on Mr. Stone's case,

including a post where she retweeted another person's argument mocking individuals

who considered Mr. Stone's arrest to be a show of excessive force on the part of the

government. See Exhibits E & F. She referred to President Trump's supporters in

 another tweet as racists, knowing full well that Mr. Stone had supported President

 Trump's campaign for the presidency as well. See Exhibit G.

        During her voir dire on the record,           did not disclose to the Court that she

 was an avid critic of President Donald Trump and his supporters including Mr. Stone. She

 did not disclose that she specifically discussed Mr. Stone's arrest on social media as well

 as denounced all of President Trump's associates as being part of a criminal enterprise.
     Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 4 of 9




The Court specifically asked               in the written voire dire questionnaire if she had

opinions regarding the Special Counsel's office and work, Question 15-16, and whether

she had written or posted anything for public consumption regarding the investigation into

events surrounding the 2016 presidential election, question 23. See Dkt. 247. Upon

information and belief,             did not disclose these important points in her answers to

the written questionnaire either.

       The proposed intervenor, Michael Cernovich, is a published constitutional law

scholar, journalist, author, filmmaker who has been covering Mr. Stone's trial. See Exhibit

H - "Intervenor's Affidavit." He has produced films including a recent one entitled

"Hoaxed Movie," which contained a broad range of political perspectives. Id. After CNN

identified           as one of the jurors in Mr. Stone's trial and when CNN did not

investigate               social media, Mr. Cernovich himself investigated her social media

and uncovered an extensive social media footprint as described above. Id.

                                             ARGUMENT

       "While the Federal Rules of Civil Procedure explicitly allow for intervention, and

describe the conditions under which a court may permit anyone to intervene, the Federal

Rules of Criminal Procedure are silent on the topic." United States v. Rand, 2016 WL

6304488, at *1 (D. Nev. July 26, 2016). However, "the right to access criminal trials ...

plays an integral role in the administration of justice." Stephens Media, LLC v. Eighth

 Judicial Dist. Court of State ex rel. County of Clark, 125 Nev. 849, 859-860, 221 P.3d

 1240, 1248 (Nev. 2009) (citing Press-Enterprise Co. v. Superior Court of California,

 Riverside County, 464 U.S. 501, 508 (1984)).

        Public access inherently promotes public scrutiny of the judicial process,
        which enhances both the fairness of criminal proceedings and the public
     Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 5 of 9




       confidence in the criminal justice system .... Even if an individual does not
       attend a criminal proceeding, the fact that the public is free to attend
       enhances his or her confidence in the system by assuring that established
       procedures are followed .... Moreover, public participation derived from
       public access advances the quality and integrity of the judicial process.

Id. at 860 (internal citations omitted).

       A journalist "often acts as a proxy for the public, advancing the public's

understanding and awareness of the criminal justice system." Id. at 860 (citing Press-

Enterprise Co. v. Superior Court of California, Riverside County, 464 U.S. 501, 508-09

(1984)). Consequently, courts have allowed journalists to raise freedom of the press

concern under the First Amendment in criminal cases that they are not parties to. See,

e.g., United States v. Aref, 533 F.3d 73, 82 (2d Cir. 2008) (holding "that a motion to

intervene to assert the public's First Amendment right of access to criminal proceedings

is proper); Radio and Television News Ass'n of Southern California v. United States Dist.

Court. Of Central Cal., 781 F.2d 1443, 1445 (9th Cir. 1986) (holding that a media

organization had standing to intervene in a criminal case to challenge a gag order); United

States v. Loughner, 807 F.Supp.2d 828,830 (D. Ariz. May 25, 2011).

        Furthermore, the First Amendment creates a presumptive right of access to a wide

range of judicial proceedings including voir dire. Press-Enterprise Co. v. Superior Court,

464 U.S. 501 (1984); see also Nixon v. Warner Commc'ns, 435 U.S. 589, 597 (1978)

("[C]ourts of this country recognize a general right to inspect and copy public records and

documents, including judicial records and documents"). The United States Supreme

Court has established a two-factor test to govern whether a particular judicial proceeding

 is subject to the First Amendment presumption of access. Press-Enterprise Co. v.

 Superior Court of California for Riverside County, 478 U.S. 1, 8 (1986). The first factor is
     Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 6 of 9




"whether the place and process have historically been open to the press and the general

public." Id. The second factor is "whether public access plays a significant positive role in

the functioning of the particular process in question. Id.

       First, the Supreme Court has long established the public's right to attend voir dire

in multiple decisions. Presley v. Georgia, 558 U.S. 209,212 (2010); Press-Enterprise Co.

v. Superior Court, 464 U.S. 501 (1984). These principles extend to jurors' written voir dire

answers. If they did not, court could totally undermine both the Sixth Amendment right to

a public trial and the First Amendment rights of journalists by conducting voir dire totally

in writing and denying the public access to those written answers. The Supreme Court's

holdings in Presley and Press-Enterprise, 464 U.S. 501 clearly preempt such a

conclusion. Consequently, the Court should find that the public has a clear historical right

to attend and view voir dire including written responses.

       Second, public access plays a significantly positive role in ensuring the integrity of

the voir dire process. The Court, the government, and Mr. Stone's defense team do not

have the time, the resources, or the inclination to cull through thousands of social media

posts to investigate the background of potential jurors. The collective public led by

conscientious journalist and scholars such as Mr. Cernovich do. Consequently, the great

benefit that the public can contribute to ensure the integrity of the voir dire process is to

bring to the parties' attention inconsistencies and grave issues of concern that reflect on

the parties' rights to due process and fair proceedings. The parties can then raise these

 concerns to the Court, thus safeguarding their constitutional rights.

                    sentiments prior to Mr. Stone's trial raise considerable questions of

 public interest regarding voir dire generally as well as in the context of this case.
     Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 7 of 9




      conduct in concealing her true sentiments and her prior conduct in the face of direct

questions from the Court may have perverted justice and deprived Mr. Stone of his right

to a fair and impartial jury. The public has a constitutional right to know whether public

trials are being conducted consistently with constitutional requirements. Mr. Cernovich's

vigorous and conscientious journalism has raised significant questions as to whether Mr.

Stone received a fair jury trial.

       However, Mr. Cernovich, and the rest of the public, can only speculate right now

as to the answer to the questions he has raised. Mr. Cernovich now seeks answers to his

questions by attempting to obtain the written voir dire answers of the jurors in the instant

case. He is constitutionally entitled to those written answers, and he respectfully requests

the Court to grant his motion to intervene and obtain the questionnaires.

       WHEREFORE, it is respectfully requested that the Court grant the proposed

intervenor's motion.

                                                 THE PROPOSED INTERVENOR

                                                 By: /s/ Norman A. Pattis /s/
                                                         NORMAN A. PATTIS
                                                         PATTIS & SMITH, LLC
                                                         383 Orange Street
                                                         New Haven, CT 06511
                                                         T: (203) 393-3017
                                                         F: (203) 393-9745
                                                         npattis@pattislaw.com
                                                         Federal Bar No.: CT0013
     Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 8 of 9




                              CERTIFICATE OF SERVICE
       I hereby certify that on the date above a copy of the foregoing STATEMENT OF

POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR LIMITED PERMISSION

TO INTERVENE and its accompanying exhibits was filed by mailing a copy to the Clerk's

office and served by certified mail on the following counsel of record :

J.P. Cooney
U.S. Attorney's Office For The District Of Columbia
555 Fourth Street, NW
Washington, DC 20530
Tel: (202) 252-7281
Email: joseph.cooney@usdoj.gov


John Crabb , Jr.
U.S. Attorney's Office
555 Fourth Street, NW
Room 11-844
Washington, DC 20530
Tel: (202) 252-1794
Email: John .D.Crabb@usdoj. gov

L. Peter Farkas
Halloran Farkas & Kittila, LLP
1101 30th Street, NW
Suite 500
Washington, DC 20007
Tel: (202) 559-1700
Fax: (202) 257-2019
Email: pf@hfk .law


Robert C Busche!
Buschel & Gibbons, P.A.
One Financial Plaza
100 S.E. Third Avenue
Suite 1300
Ft. Lauderdale, FL 33394
Tel: (954) 530-5301
Email: buschel@bglaw-pa .com
     Case 1:19-cr-00018-ABJ Document 351-1 Filed 02/26/20 Page 9 of 9




Bruce S. Rogow
Law Office of Bruce S. Rogow, P.A.
100 NE 3rd Avenue, Suite 1000
Fort Lauderdale, FL 33301
Tel: (954) 767-8909
Fax: (954) 764-1530
Email: brogow@rogowlaw.com

Grant J. Smith
STRATEGYSMITH, P.A.
401 East Las Olas Boulevard, Suite 130-120
Fort Lauderdale, FL 33301
Tel: 954-328-9064
Email: gsmith@strategysmith .com

Seth Ginsberg
299 Broadway, Suite 1405
New York, NY 10007
Tel: 212-227-6655
Email: srginsberg@mac.com

Tara A. Campion
LAW OFFICE OF BRUCE S. ROGOW, P.A.
100 NE 3rd Avenue, Suite 1000
Fort Lauderdale, FL 33301
Tel: (954) 767-8909
Fax: (954) 764-1530
Email: tcampion@rogowlaw.com



                                             /s/ Norman A. Pattis /s/
                                             Norman A. Pattis, Esq.
